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 RrRpprova4il\4                                                     Chief Approval



                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                               ORLANDO DIVISION


 UNITED STATES OF AMERICA

                                            CASE NO. 6: 1 3-cr-280-Orl-28DAB

 MICHAEL GLENN GLASCOCK


                                   PLEA AGREEMENT

        Pursuant to Fed. R. Crim. P. 11(c), the United States of America, by A.

 Lee Bentley, lll, United States Attorney for the Middle District of Florida, and the

 defendant, MICHAEL GLENN GLASCOCK, and the attorney for the defendant,

 lsmael Solis, Jr., mutually agree as follows:

 A.     ParticularizedTerms

        1.     Counts Pleadinq To

               The defendant shall enter a plea of guilty to Counts One and Three

 of the Indictment. Count One charges the defendant with production of child

 pornography, in violation of 18 U.S.C. 5 2251(a). Count Three charges the

 defendant with attempted enticement of a minor, in violation of 18 U.S.C.

 52422(b).

        2.     Minimum and Maximum Penalties

               Gount One is punishable by a mandatory minimum term of

 imprisonment of 15 years up to 30 years imprisonment, a fine of $250,000, a

 term of supervised release of not more than 5 years up to life, and a special



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 assessment of   $100. Count Three is punishable      by a mandatory minimum term

 of 10 years up to life imprisonment, a fine of $250,000, a term of supervised

 release of not more than 5 years up to life, and a special assessment of $100.

 With respect to certain offenses, the Court shall order the defendant to make

 restitution to any victim of the offenses, and with respect to other offenses, the

 Court may order the defendant to make restitution to any victim of the offenses,

 or to the community, as set forth below.

        3.     Elements of the Offenses

               The defendant acknowledges understanding the nature and

 elements of the offenses with which defendant has been charged and to which

 defendant is pleading guilty. The elements of Count One are:

        First:           An actual minor, that is, a real person who was less than 18
                         years old, was depicted;

        Second:          the Defendant employed, used, persuaded, induced,
                         enticed, or coerced the minor to engage in sexually explicit
                         conduct for the purpose of producing a visual depiction of
                         the conduct: and

        Third:           either (a) the Defendant knew or had reason to know that the
                         visual depiction would be mailed or transported in interstate
                         or foreign commerce; (b) the visual depiction was produced
                         using materials that had been mailed, shipped, or
                         transported in interstate or foreign commerce by any means,
                         including by computer; or (c) the visual depiction was mailed
                         or actually transported in interstate or foreign commerce.

 The elements of Count Three are:

         First:          The Defendant knowingly attempted to persuade, induce,
                         entice, or coerce a minor individual to engage in sexual
                         activity, as charged;




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         Second:         the Defendant used an interstate facility as alleged in the
                         indictment to do so;

         Third:          when the Defendant did these acts, the minor individual
                         named in the indictment was less than 18 years old; and

         Fourth:         one or more of the individual(s) engaging in the sexual
                         activity could have been charged with a criminal offense
                         under the law of the State of Florida.

         4.     Counts Dismissed

                At the time of sentencing, the remaining counts against the

  defendant, Counts Two and Four through Eight, will be dismissed pursuant to

  Fed. R. Crim. P.11(c)(1)(A).

         5.     No Further Charqes

                lf the Court accepts this plea agreement, the United States

  Attorney's Office for the Middle District of Florida agrees not to charge defendant

  with committing any other federal criminal offenses known to the United States

  Attorney's Office at the time of the execution of this agreement, related to the

  conduct giving rise to this plea agreement.

         6.     Mandatorv Restitution to Victim of Offense of Conviction

                Pursuant to 18 U.S.C. SS 2248 and 2259, defendant agrees to

  make full restitution to the minor victim named in indictment.

         7.     Mandatorv Restitution to Victims of Offense of Conviction

                Pursuantto 18 U.S.C.     SS   2248 and2259, defendantagreesto

  make restitution to known victims of the offense for the full amount of the victims'

  losses as determined by the Court. Further, pursuant to 1B U.S.C. S 3364(d)(5),




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 the defendant agrees not to oppose bifurcation of the sentencing hearing if the

 victims' losses are not ascertainable prior to sentencing.

        8.     Guidelines Sentence

               Pursuant to Fed. R. Crim. P. 11(cX1XB), the United States will

 recommend to the Court that the defendant be sentenced within the defendant's

 applicable guidelines range as determined by the Court pursuant to the United

 States Sentencing Guidelines, as adjusted by any departure the United States

 has agreed to recommend in this plea agreement. The parties understand that

 such a recommendation is not binding on the Court and that, if it is not accepted

 by this Court, neither the United States nor the defendant will be allowed to

 withdraw from the plea agreement, and the defendant will not be allowed to

 withdraw from the plea of guilty.

        9.     Acceptance of Responsibilitv - Three Levels

               At the time of sentencing, and in the event that no adverse

 information is received suggesting such a recommendation to be unwarranted,

 the United States will not oppose the defendant's request to the Court that the

 defendant receive a two-level downward adjustment for acceptance of

 responsibility,pursuanttoUSSGS3El.l(a). Thedefendantunderstandsthatthis

 recommendation or request is not binding on the Court, and if not accepted by

 the Court, the defendant will not be allowed to withdraw from the plea.

               Further, at the time of sentencing, if the defendant's offense level

 prior to operation of subsection (a) is level 16 or greater, and if the defendant




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 complies with the provisions of USSG S3E1      .1   (b) and all terms of this Plea

Agreement, including but not limited to, the timely submission of the financial

 affidavit referenced in Paragraph B.4., the United States agrees to file a motion

 pursuant to USSG S3E1    .1   (b) for a downward adjustment of one additional level.

 The defendant understands that the determination as to whether the defendant

 has qualified for a downward adjustment of a third level for acceptance of

 responsibility rests solely with the United States Attorney for the Middle District of

 Florida, and the defendant agrees that the defendant cannot and will not

 challenge that determination, whether by appeal, collateral attack, or otherwise.

        10.    Cooperation - Substantial Assistance to be Considered

               Defendant agrees to cooperate fully with the United States in the

 investigation and prosecution of other persons, and to testify, subject to a

 prosecution for perjury or making a false statement, fully and truthfully before any

 federal court proceeding or federal grand jury in connection with the charges in

 this case and other matters, such cooperation to further include a full and

 complete disclosure of all relevant information, including production of any and all

 books, papers, documents, and other objects in defendant's possession or

 control, and to be reasonably available for interviews which the United States

 may require. lf the cooperation is completed prior to sentencing, the government

 agrees to consider whether such cooperation qualifies as "substantial

 assistance" in accordance with the policy of the United States Aftorney for the

 Middle District of Florida, warranting the filing of a motion at the time of




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 sentencing recommending (1) a downward departure from the applicable

 guideline range pursuant to USSG S5K1.1, or (2) the imposition of a sentence

 below a statutory minimum, if any, pursuant to 18 U.S.C. S 3553(e), or (3) both.

 lf the cooperation is completed subsequent to sentencing, the government

 agrees to consider whether such cooperation qualifies as "substantial

 assistance" in accordance with the policy of the United States Attorney for the

 Middle District of Florida, warranting the filing of a motion for a reduction of

 sentence within one year of the imposition of sentence pursuant to Fed. R. Crim.

 P. 35(b). In any case, the defendant understands that the determination as to

 whether "substantial assistance" has been provided or what type of motion

 related thereto will be filed, if any, rests solely with the United States Attorney for

 the Middle District of Florida, and the defendant agrees that defendant cannot

 and will not challenge that determination, whether by appeal, collateral attack, or

 otherwise.

        11.    Use of Information - Section 181.8

               Pursuant to USSG 51B1.8(a), the United States agrees that no self-

 incriminating information which the defendant may provide during the course of

 defendant's cooperation and pursuant to this agreement shall be used in

 determining the applicable sentencing guideline range, subject to the restrictions

 and limitations set forth in USSG 51B1.8(b).




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        12.    Cooperation - Responsibilities of Parties

               a.      The government will make known to the Court and other

 relevant authorities the nature and extent of defendant's cooperation and any

 other mitigating circumstances indicative of the defendant's rehabilitative intent

 by assuming the fundamental civic duty of reporting crime. However, the

 defendant understands that the government can make no representation that the

 Court will impose a lesser sentence solely on account of, or in consideration of,

 such cooperation.

                b.     lt is understood that should the defendant knowingly provide

 incomplete or untruthful testimony, statements, or information pursuant to this

 agreement, or should the defendant falsely implicate or incriminate any person,

 or should the defendant fail to voluntarily and unreservedly disclose and provide

 full, complete, truthful, and honest knowledge, information, and cooperation

 regarding any of the mafters noted herein, the following conditions shall apply:

                       (1)        The defendant may be prosecuted for any perjury or

 false declarations, if any, committed while testifying pursuant to this agreement,

 or for obstruction of justice.

                       (2)        The United States may prosecute the defendant for

 the charges which are to be dismissed pursuant to this agreement, if any, and

 may either seek reinstatement of or refile such charges and prosecute the

 defendant thereon in the event such charges have been dismissed pursuant to

 this agreement. With regard to such charges, if any, which have been dismissed,




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 the defendant, being fully aware of the nature of all such charges now pending in

 the instant case, and being further aware of defendant's rights, as to all felony

 charges pending in such cases (those offenses punishable by imprisonment for a

 term of over one year), to not be held to answer to said felony charges unless on

 a presentment or indictment of a grand jury, and further being aware that all such

 felony charges in the instant case have heretofore properly been returned by the

  indictment of a grand jury, does hereby agree to reinstatement of such charges

  by recision of any order dismissing them or, alternatively, does hereby waive, in

 open court, prosecution by indictment and consents that the United States may

  proceed by information instead of by indictment with regard to any felony charges

 which may be dismissed in the instant case, pursuant to this plea agreement,

 and the defendant further agrees to waive the statute of limitations and any

 speedy hial claims on such charges.

                         (3)   The United States may prosecute the defendant for

 any offenses set forth herein, if any, the prosecution of which in accordance with

 this agreement, the United States agrees to forego, and the defendant agrees to

 waive the statute of limitations and any speedy trial claims as to any such

 offenses.

                         (4)   The government may use against the defendant the

 defendant's own admissions and statements and the information and books,

 papers, documents, and objects that the defendant has furnished in the course of

 the defendant's cooperation with the government.




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                        (5)   The defendant will not be permitted to withdraw the

 guilty pleas to those counts to which defendant hereby agrees to plead in the

 instant case but, in that event, defendant will be entitled to the sentencing

 limitations, if any, set forth in this plea agreement, with regard to those counts to

 which the defendant has pled; or in the alternative, at the option of the United

 States, the United States may move the Court to declare this entire plea

 agreement null and void.

        1   3.   Forfeiture of Assets

                 The defendant agrees to forfeit to the United States immediately

 and voluntarily any and all assets and property, or portions thereof, subject to

 forfeiture, pursuant to 18 U.S.C. SS 2253 and2428, whether in the possession or

 conhol of the United States, the defendant or defendant's nominees

                 The defendant agrees and consents to the forfeiture of these

 assets pursuant to any federal criminal, civil judicial or administrative forfeiture

 action. The defendant also hereby agrees to waive all constitutional, statutory

 and procedural challenges in any manner (including direct appeal, habeas

 corpus, or any other means) to any forfeiture carried out in accordance with this

 Plea Agreement on any grounds, including that the forfeiture described herein

 constitutes an excessive fine, was not properly noticed in the charging

 instrument, addressed by the Court at the time of the guilty plea, announced at

 sentencing, or incorporated into the judgment.




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                The defendant admits and agrees that the conduct described in the

  Factual Basis below provides a sufficient factual and statutory basis for the

 forfeiture of the property sought by the government. Pursuant to the provisions

  of Rule 32.2(b)(1XA), the United States and the defendant request that promptly

  after accepting this Plea Agreement, the Court make a determination that the

  government has established the requisite nexus between the property subject to

 forfeiture and the offense(s) to which defendant is pleading guilty and enter a

  preliminary order of forfeiture. Pursuant to Rule 32.2(b)(4), the defendant agrees

 that the preliminary order of forfeiture will satisfy the notice requirement and will

  be final as to the defendant at the time it is entered. In the event the forfeiture is

  omitted from the judgment, the defendant agrees that the forfeiture order may be

  incorporated into the written judgment at any time pursuant to Rule 36.

                The defendant agrees to take all steps necessary to identify and

  locate all property subject to forfeiture and to transfer custody of such property to

 the United States before the defendant's sentencing. The defendant agrees to

  be interviewed by the government, prior to and after sentencing, regarding such

  assets and their connection to criminal conduct. The defendant further agrees to

  be polygraphed on the issue of assets, if it is deemed necessary by the United

  States. The defendant agrees that Federal Rule of Criminal Procedure 11 and

  USSG Sl 81.8 will not protect from forfeiture assets disclosed by the defendant

  as part of his cooperation.




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               The defendant agrees to take all steps necessary to assist the

 government in obtaining clear title to the forfeitable assets before the defendant's

 sentencing. ln addition to providing full and complete information about

 forfeitable assets, these steps include, but are not limited to, the surrender of

 title, the signing of a consent decree of forfeiture, and signing of any other

 documents necessary to effectuate such transfers.

                The defendant agrees that the United States is not limited to

 forfeiture of the property specifically identified for forfeiture in this Plea

 Agreement. lf the United States determines that property of the defendant

 identified for forfeiture cannot be located upon the exercise of due diligence; has

 been transferred or sold to, or deposited with, a third party; has been placed

 beyond the jurisdiction of the Court; has been substantially diminished in value;

 or has been commingled with other property which cannot be divided without

 difficulty; then the United States shall, at its option, be entitled to forfeiture of any

 other property (substitute assets) of the defendant up to the value of any property

 described above. The Court shall retain jurisdiction to seftle any disputes arising

 from application of this clause. The defendant agrees that forfeiture of substitute

 assets as authorized herein shall not be deemed an alteration of the defendant's

 senlence.

                Forfeiture of the defendant's assets shall not be treated as

 satisfaction of any fine, restitution, cost of imprisonment, or any other penalty the

 Court may impose upon the defendant in addition to forfeiture.




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                 The defendant agrees that, in the event the Court determines that

  the defendant has breached this section of the Plea Agreement, the defendant

  may be found ineligible for a reduction in the Guidelines calculation for

  acceptance of responsibility and substantial assistance, and may be eligible for

  an obstruction of justice enhancement.

         14.     Sex Offender Reqistration and Notification

                 The defendant has been advised and understands, that under the

  Sex Offender Registration and Notification Act, a federal law, the defendant must

  register and keep the registration current in each of the following jurisdictions: the

  location of the defendant's residence, the location of the defendant's

  employment; and, if the defendant is a student, the location of the defendant's

  school. Registration will require that the defendant provide information that

  includes name, residence address, and the names and addresses of any places

  at which the defendant is or will be an employee or a student. The defendant

  understands that he must update his registrations not later than three business

  days after any change of name, residence, employment, or student status. The

  defendant understands that failure to comply with these obligations subjects the

  defendant to prosecution for failure to register under federal law, 18 U.S.C.

  S 2250,   which is punishable by a fine or imprisonment, or both.




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  B.     Standard Terms and Conditions

         1.      Restitution, Special Assessment and Fine

                 The defendant understands and agrees that the Court, in addition

 to or in lieu of any other penalty, shall order the defendant to make restitution to

  any victim of the offenses, pursuant to 18 U.S.C. $ 2259 and to 18 U.S.C.     S


  3663A, for all offenses described in 18 U.S.C. S 3663A(cX1); and the Court may

  order the defendant to make restitution to any victim of the offenses, pursuant to

  18 U.S.C. S 3663, including restitution as to all counts charged, whether or not

  the defendant enters a plea of guilty to such counts, and whether or not such

  counts are dismissed pursuant to this agreement. The defendant further

  understands that compliance with any restitution payment plan imposed by the

  Court in no way precludes the United States from simultaneously pursuing other

  statutory remedies for collecting restitution (18 U.S.C. S 3003(bX2)), including,

  but not limited to, garnishment and execution, pursuant to the Mandatory Victims

  Restitution Act, in order to ensure that the defendant's restitution obligation is

  satisfied.

                 On each count to which a plea of guilty is entered, the Court shall

  impose a special assessment pursuant to 18 U.S.C. S 3013. The special

  assessment is due on the date of sentencing.

                 The defendant understands that this agreement imposes no

  limitation as to fine.




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         2.        Supervised Release

                   The defendant understands that the offenses to which the

  defendant is pleading provide for imposition of a term of supervised release upon

  release from imprisonment, and that, if the defendant should violate the

  conditions of release, the defendant would be subject to a further term of

  imprisonment.

         3.            lmmioration Consequences of Pleadinq Guiltv

                   The defendant has been advised and understands that. uoon

  conviction, a defendant who is not a United States citizen may be removed from

  the United States, denied citizenship, and denied admission to the United States

  in the future.

         4.            Sentencinq Information

                   The United States reserves its right and obligation to report to the

  Court and the United States Probation Office all information concerning the

  background, character, and conduct of the defendant, to provide relevant factual

  information, including the totality of the defendant's criminal activities, if any, not

  limited to the counts to which defendant pleads, to respond to comments made

  by the defendant or defendant's counsel, and to correct any misstatements or

  inaccuracies. The United States further reseryes its right to make any

  recommendations it deems appropriate regarding the disposition of this case,

  subject to any limitations set forth herein, if any.




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        5.     Financial Disclosures

               Pursuant to 18 U.S.C. S 3664(dX3) and Fed. R. Crim. P.

 32(d)(2xA)(ii), the defendant agrees to complete and submit to the United States

 Attorney's Office within 30 days of execution of this agreement an affidavit

 reflecting the defendant's financial condition. The defendant promises that his

 financial statement and disclosures will be complete, accurate and huthful and

 will include all assets in which he has any interest or over which the defendant

 exercises control, directly or indirectly, including those held by a spouse,

 dependent, nominee or other third party. The defendant further agrees to

 execute any documents requested by the United States needed to obtain from

 any third parties any records of assets owned by the defendant, directly or

 through a nominee, and, by the execution of this Plea Agreement, consents to

 the release of the defendant's tax returns for the previous five years. The

 defendant similarly agrees and authorizes the United States Attorney's Office to

 provide to, and obtain from, the United States Probation Office, the financial

 affidavit, any of the defendant's federal, state, and local tax returns, bank records

 and any other financial information concerning the defendant, for the purpose of

 making any recommendations to the Court and for collecting any assessments,

 fines, restitution, or forfeiture ordered by the Court. The defendant expressly

 authorizes the United States Attorney's Office to obtain current credit reports in

 order to evaluate the defendant's ability to satisfy any financial obligation

 imposed by the Court.




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            6.   Sentencinq Recommendations

                 It is understood by the parties that the Court is neither a party to nor

  bound by this agreement. The Court may accept or reject the agreement, or

  defer a decision until it has had an opportunity to consider the presentence report

  prepared by the United States Probation Office. The defendant understands and

  acknowledges that, although the parties are permitted to make recommendations

  and present arguments to the Court, the sentence will be determined solely by

  the Court, with the assistance of the United States Probation Office. Defendant

  further understands and acknowledges that any discussions between defendant

  or defendant's attorney and the attorney or other agents for the government

  regarding any recommendations by the government are not binding on the Court

  and that, should any recommendations be rejected, defendant will not be

  permitted to withdraw defendant's plea pursuant to this plea agreement. The

  government expressly reserves the right to support and defend any decision that

  the Court may make with regard to the defendant's sentence, whether or not

  such decision is consistent with the government's recommendations contained

  herein.

            7.   Defendant's Waiver of Riqht to Appeal the Sentence

                 The defendant agrees that this Court has jurisdiction and authority

  to impose any sentence up to the statutory maximum and expressly waives the

  right to appeal defendant's sentence on any ground, including the ground that the

  Court erred in determining the applicable guidelines range pursuant to the United




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 States Sentencing Guidelines, except (a) the ground that the sentence exceeds

 the defendant's applicable guidelines range as determined bv the Court pursuant

 to the United States Sentencing Guidelines; (b) the ground that the sentence

 exceeds the statutory maximum penalty; or (c) the ground that the sentence

 violates the Eighth Amendment to the Constitution; provided, however, that if the

 government exercises its right to appeal the sentence imposed, as authorized by

 18 U.S.C. S 3742(b), then the defendant is released from his waiver and may

 appeal the sentence as authorized by 18 U.S.C. S 37a2(a).

        8.     Middle District of Florida Aqreement

               It is further understood that this agreement is limited to the Office of

 the United States Attorney for the Middle District of Florida and cannot bind other

 federal, state, or local prosecuting authorities, although this office will bring

 defendant's cooperation, if any, to the attention of other prosecuting officers or

 others, if requested.

        9.     Filino of Aqreement

               This agreement shall be presented to the Court, in open court or in

 camera, in whole or in part, upon a showing of good cause, and filed in this

 cause, at the time of defendant's entry of a plea of guilty pursuant hereto.

        10.    Voluntariness

               The defendant acknowledges that defendant is entering into this

 agreement and is pleading guilty freely and voluntarily without reliance upon any

 discussions between the attorney for the government and the defendant and




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  defendant's attorney and without promise of benefit of any kind (other than the

  concessions contained herein), and without threats, force, intimidation, or

  coercion of any kind. The defendant further acknowledges defendant's

  understanding of the nature of the offense or offenses to which defendant is

  pleading guilty and the elements thereof, including the penalties provided by law,

  and defendant's complete satisfaction with the representation and advice

  received from defendant's undersigned counsel (if any). The defendant also

  understands that defendant has the right to plead not guilty or to persist in that

  plea if it has already been made, and that defendant has the right to be tried by a

  jury with the assistance of counsel, the right to confront and cross-examine the

  witnesses against defendant, the right against compulsory self-incrimination, and

  the right to compulsory process for the attendance of witnesses to testify in

  defendant's defense; but, by pleading guilty, defendant waives or gives up those

  rights and there will be no trial. The defendant further understands that if

  defendant pleads guilty, the Court may ask defendant questions about the

  offense or offenses to which defendant pleaded, and if defendant answers those

  questions under oath, on the record, and in the presence of counsel (if any),

  defendant's answers may later be used against defendant in a prosecution for

  perjury or false statement. The defendant also understands that defendant will

  be adjudicated guilty of the offenses to which defendant has pleaded and, if any

  of such offenses are felonies, may thereby be deprived of certain rights, such as




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 the right to vote, to hold public office, to serye on a jury, or to have possession of

 firearms.

        11   .   Factual Basis

                 Defendant is pleading guilty because defendant is in fact guilty.

 The defendant certifies that defendant does hereby admit that the facts set forth

 in the attached "Factual Basis," which is incorporated herein by reference, are

 true, and were this case to go to trial, the United States would be able to prove

 those specific facts and others beyond a reasonable doubt.

        12.      Entire Aqreement

                 This plea agreement constitutes the entire agreement between the

 government and the defendant with respect to the aforementioned guilty plea and

  no other promises, agreements, or representations exist or have been made to

 the defendant or defendant's attorney with regard to such guilty plea.




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       13.    Certification

              The defendant and defendant's counsel certify that this plea

 agreement has been read in its entirety by (or has been read to) the defendant

 and that defendant fully understands its terms.
                        .'tW
       DATED    this   /D' day of July, 2014.
                                                   A. LEE BENTLEY, III
                                                   UnitedrStates Aftor
                                                   64Jc t            ,


                NN GLASCOCK                        Andrew C. Searle
 Defendant                                         Assistant United States Attornev



 lsmael Solis, Jr.
 Attorney for Defendant
                                                   Chief, Orlando Division




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                                                                                                        &

                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

 UNITED STATES OF AMERICA

 v.                                                    CASE NO. 6:13-cr-280-Orl-28DAB

 MICHAEL GLENN GLASCOCK

                                        FACTUAL BASIS1

         Beginning on or about October          11   ,2012, and continuing through and

 including on or about October 11,2013, in Brevard County, Florida, in the Middle

 District of Florida, and elsewhere, the defendant, MICHAEL GLENN GLASCOCK

 ('GLASCOCK"), produced child pornography images of his three year old

 daughter ("the minor victim") which he knew would be transported and

 transmitted using any means or facility of interstate and foreign commerce, which

 were transported and transmitted using any means or facility of interstate and

 foreign commerce, and which were produced using materials that had been

 mailed, shipped, and transported in interstate and foreign commerce. Further, on

 October 11,2013, in Brevard County, Florida, in the Middle District of Florida,

 and elsewhere, GLASCOCK used the Internet and a cell phone, which are

 facilities and means of interstate commerce, in an attempt to induce a fictitious

 individual who had not attained the age of 18 years to engage in sexual activity

 for which any person could be charged with a criminal offense under the laws of


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    The factual basis is prepared by the United States and does not include all of the facts relevant
 to the defendant's involvement in the crime to which the defendant is pleading guilty and other
 illegal activities in which the defendant may have been involved.




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 the State of Florida, that is, Lewd or Lascivious Battery, a violation of Florida

 State Stat. S 800.04. These actions by GLASCOCK came to light as a result of

 a   joint investigation conducted by the Brevard County Sheriff's Office (BCSO)

 and the Cocoa Beach office of the Department of Homeland Security (DHS),

 Homeland Security Investigations (HSl), which is set forth, in part and substance,

 below.

      An Undercover Aqent responds to GLASCOCK's online adveftisement

          On September 9, 2013, GLASCOCK posted an online advertisement on

 Craigslist entitled "New nudist family seeks other nudist families to host us in

 space coas-m4mw-38(space coast)." A law enforcement agent who was acting

 in an undercover capacity observed the advertisement and responded to it using

 an undercover email account. Thereafter, the undercover agent ("the UC agent

 agent") and GLASCOCK communicated with each other using email, via the

 Internet, and a cell phone, as set forth below.

          In their email correspondence, the UC agent told GLASCOCK that he had

 a 13 yeat old daughter. GLASCOCK expressed an interest in meeting the UC

 agent, and said "13 is such a fun age." When the UC agent asked GLASCOCK

 what he had in mind, GLASCOCK said it would be better to go into specifics in

 person but agreed that the two should meet. The UC agent and GLASCOCK

 discussed meeting in the future at a park.

     GASCOCK's October 11. 2013 email and cell phone communication with
                                       the UC adent

          On October   '11   ,2013, GLASCOCK and the UC agent had further email



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 correspondence. In these emails, GLASCOCK tried to convince the UC agent to

 come over for their first meet and the UC agent told GLASCOCK that he did not

 want to bring his 13 year old daughter over because he had never met

 GLASCOCK before. GLASCOCK told the UC agent that he lived on Merritt

 lsland and that his daughter was three years old. Eventually, GLASCOCK said

 to the UC agent "l hope you cum over. lf u decide to let me know im gonna go

 play with my baby girl now." The UC agent told GLASCOCK that it was not safe

 to talk and asked for GLASCOCK to call him. GLASCOCK agreed and the UC

 agent provided his UC phone number to GLASCOCK.

       On October 11,2013, at approximately 1:06 p.m., the UC agent received

 a phone call from GLASCOCK and a recorded phone conversation took place

 between the two individuals. GLASCOCK confirmed that he was the person who

 had the previous correspondence with the UC agent. GLASCOCK said that he

 wanted to get the "meet and greet" done and could meet at the park but he didn't

 have a car at the moment. GLASCOCK told the UC agent that he was playing

 with his daughter. The UC agent mentioned making videos with his fictitious

 daughter and GLASCOCK confirmed that he took pictures of his daughter.

 GLASCOCK said his daughter likes ".. a little licking" and the UC agent heard

 GLASCOCK performing oral sex on the minor victim. GLASCOCK then stated

 "yeah just did some   licking." GLASCOCK stated that he didn't mind if the UC

 agent did the same thing on his daughter. GLASCOCK also stated that "she

 knows how to grab daddy's cock and stroke it."




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         At some point in the recorded conversation, the UC agent heard the minor

 victim in the background and asked GLASCOCK if his daughter was with him.

 GLASCOCK confirmed the child's presence. GLASCOCK said they could "take

 turns licking little pussy." To confirm that the child was real, the UC agent asked

 to speak to the child and GLASCOCK put the minor victim on the phone. The

 UC agent briefly spoke to the child saying "hi" and the child responding by saying

 "hi."   GLASCOCK got back on the phone with the UC agent and the UC agent

 attempted to determine GLASCOCK's exact location. GLASCOCK asked the UC

 agent if he could meet at a public park later and suggested that they bring their

 children with them for the meet or that he would bring his child. GLASCOCK said

 he would also be willing to meet the UC agent alone. GLASCOCK asked if the

 UC agent's 13 year old child "played with" anyone else. The UC agent described

 meeting some friends on a website and stated "we share" and GLASCOCK

 stated "that's way hot."

  GLASCOCK discusses sexuallv abusinq the minor victim and reveals his
  desire to enqaqe in illeqal sexual ac|s with the UC agent's fictitious minor
                                      dauqhter

         GLASCOCK also revealed in the recorded conversation that he and

 another individual had rubbed their penises against the minor victim's vagina and

 performed oral sex on the child. GLASCOCK further stated he masturbated

 while watching the other male sexually abuse the minor victim. The UC agent

 told GLASCOCK he would use a condom and GLASCOCK responded "sounds

 hot." GLASCOCK then said he was dying to "hook-up" with someone the UC




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 agent's daughter's age and asked what the UC agent liked to watch people do

 with her. GLASCOCK eventually said he would perform illegal sexual acts on the

 UC agent's 13 year old daughter in front of the UC agent, specifically stating that

 he would "doggy her" right in front of the agent. GLASCOCK said he would like

 to meet later and get the ball rolling. As the conversation continued, the UC

 agent asked GLASCOCK if he had ever been with any other girl besides his

 daughter and GLASCOCK stated "no ... l'm dying     to." GLASCOCK told the UC
 agent that "you can't penetrate" in reference to the minor victim's age and further

 stated "l can rub my cock on her pussy and when I go to cum I shove my cock

 against it and shoot my cum inside her pussy." GLASCOCK also stated "she's

 way too small still."

        The UC agent eventually asked GLASCOCK to give the agent his address

 and GLASCOCK said he was tempted to and stated "l can't wait to let you lick

 her little pussy." GLASCOCK then asked if he could meet the UC agent at the

 park and then go back to the UC agent's place. The UC agent agreed and told

 GLASCOCK to text him. The UC agent asked GLASCOCK if he was going to

 bring his daughter to the meet so that the minor victim and the UC agent's 13

 year old daughter could meet and GLASCOCK agreed that he would.

 GLASCOCK agreed that he would get back in touch with the UC agent.

        After the telephone call ended, GLASCOCK sent a text message to the

 UC agent asking for a "g rated pic of your daughter." After receiving the text

 message, the UC agent emailed GLASCOCK a photograph of his fictitious




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 daughter.

        Based on the foregoing, GLASCOCK hereby acknowledges that he used

 the Internet and a cell phone, in an effort to stimulate the occurrence of, or

 cause, the UC agent's fictitious 13 year old daughter to engage in sexual activity

 for which a person could be charged with Lewd or Lascivious Battery in the State

 of Florida, in violation of Florida State Stat. S 800.04.

   Aqenb locate GLASCOCK and he admits to producinq and distributinq
              child pomoqraphv imaqes of the minor victim

        After having the recorded conversation with GLASCOCK, the UC agent

 used law enforcement databases and websites to identify him and determine his

 address, which was 3063 Sea Gate Circle, Merritt lsland, in Brevard County,

 Florida ("GLASCOCK's address"). Later on October 11,2013, the UC agent, HSI

 Special Agents ("SAs"), and BCSO agents responded to the GLASCOCK's

 address where GLASCOCK and the minor victim where present.

        During audio recorded interviews with numerous agents, GLASCOCK

 stated, among other things, the following: He was the person who posted the

 online advertisement on Craigslist and communicated with the UC agent earlier

 in day, via email, using a desktop computer inside his residence. He also

 provided the cell phone number that he used to communicate with the UC agent

 in the above-referenced conversation. His three year old daughter (the minor

 victim) was home inside his residence with his wife and his four year old son.

        GLASCOCK eventually made the following admissions to agents

 regarding his sexual exploitation of the minor victim:



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            Approximately six to seven months ago, he began having a sexual
            interest in children.

            He took nude photographs of the minor victim using a Nikon camera
            that was located in his dresser drawer and transferred the photographs
            to one of the SD cards inside his home.

            He sent the photographs of the minor victim to an individual who lived
            in Orlando, Florida using email. He communicated with this individual
            using KiK messenger service. This other individual was eventually
            identified to be William Edward Osman ("Osman";.2 He also spoke to
            Osman on the phone.

            He claimed that he took the photographs of the minor victim
            approximately one year earlier and sent them to Osman approximately
            two to three months earlier.

            Osman sent him child pornography images of Osman's one year old
            child, which GLASCOCK described as depicting the child's vagina with
            Osman's hand in the photograph. GLASCOCK believed the child
            pornography he received from Osman was stored on one of the SD
            cards inside his home.

            He claimed that he began sexually abusing the minor victim
            approximately three months earlier and that he had done so on four to
            five prior occasions.

            His saliva would be present on the minor victim's vagina. He
            masturbated and took some of his semen and rubbed it on the minor
            victim's vagina. He licked his finger and put it in the minor victim's
            vagina and admitted that he slightly penetrated the minor victim's
            vagina with his finger. He believed that it was possible for his semen
            to be present in the minor victim's diaper. He had sexually abused the
            minor victim earlier in the day at approximately 3:00 p.m.


 'On October 15, 2013, HSI    SAs interviewed Osman at his residence in Orlando. Osman
 admitted to the SAs that he communicated with GLASCOCK via the internet (Craigslist and KiK
 messenger) and that the two traded child pornography images of their respective children
 (GLASCOCK'S three year old child who is the minor victim and Osman's one year old child).
 Osman further admitted to sexually abusing his one year old child and producing the images of
 child pornography involving his child. Thereafter, Osman was arrested and charged with several
 federal offenses under Middle District of Florida Case No. 6:13-cr-280-Orl-28DAB. On February
 28,2014, Osman entered a guilty plea to production of child pornography, in violation of 18
 U.S.C. S 2251(a), and distribution of child pornography, in violation of 18 U.S.C.
 S 2252A(a)(2XB).




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       -   He specifically described a nude photograph of the minor victim he
           took using the Nikon camera that depicted the child standing up with
           her legs spread, which was taken three months earlier.

       -   He acquired other child pornography images from websites.

       After the interviews at his residence concluded, GLASCOCK was

 transported to the BCSO Major Crimes building. Agents told GLASCOCK that

 law enforcement would continue to ask him questions about his phone and the

 individual he sent the images to because the agents were in the process of trying

 to identify this other individual. GLASCOCK was asked to cooperate as much as

 he was willing to and GLASCOCK agreed that he would.

   GLASCOCK's semen is found in the minor victim's diaper and on swabs
          taken from the minor victim durinq a medical exam

       While GLASCOCK was being interviewed, other agents entered

 GLASCOCK's residence and met his wife, the minor victim, and his four year old

 son. GLASCOCK's wife told the agents that she had recently changed the minor

 victim's diaper and placed the used diaper in the garbage in the kitchen inside

 the residence. Later, during the execution of a search warrant at GLASCOCK's

 residence, a crime scene technician ("CST") collected a pull-up diaperfrom the

 top of a garbage bin in the kitchen. The CST also eventually collected a DNA

 sample from GLASCOCK at a BCSO building by swabbing his mouth.

       Agents also accompanied the minor victim, GLASCOCK's wife, and his

 other child to the Child Protection Team ("CPT") of Brevard County where a

 nurse performed a forensic medical exam/sexual assault kit on the minor victim.




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 The minor victim's diaper, the swabs taken from the minor victim during the

 medical exam/sexual assault kit, and GLASCOCK's known DNA sample were all

 submitted to a Florida Department of Law Enforcement ("FDLE") laboratory for

 analysis. An FDLE laboratory analyst determined that GLASCOCK's DNA was

 present in semen found in the minor victim's diaper as well as on an anal swab

 taken from the minor victim as part of her medical exam/sexual assault kit.

   A forensic examination reveals child pornoqraphv images of the minor
       victim on GLASCOCK's SD card and on one of his cell phones

        During GLASCOCK's interviews with the agents, he discussed the

 electronic devices he possessed inside his residence, including two cell phones,

 SD cards, a Nikon digital camera, and a desktop computer. Pursuant to the

 above-mentioned search warrant, agents seized the following electronic devices

 from GLASCOCK's residence:

        -   From the kitchen counter, a Samsung Sprint cell phone, model SPH-
            L720 Galaxy 54, purple with a black outer case. The markings on this
            cell phone indicated that it was made in China. lnside this phone was
            a Sandisk MicroSD 2G SD card that was also labeled as made in
            China.

        -   From the bedroom of GLASCOCK's son, a Samsung cell phone,
            model SPH-M930, black or grey in color. The markings on this cell
            ohone indicated that it was made in China. The screen for this cell
            phone was cracked. Inside this phone was a Sandisk MicroSD 2GB
            SD Card that was also labeled as made in China.

        -   From the dresser drawer in GLASCOCK's bedroom, a purple Nikon,
            Coolpix S4100, digital camera. The camera appeared to be
            manufactured in China. Inside the camera was a Transcend SD 2GB
            SD Card that was labeled as made in Taiwan.

        A forensic examination of the electronic devices found in GLACOCK'S




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 possession revealed the following:

       -   121 images of child pornography were located on the SD card found
           inside the above-listed Samsung Sprint cell phone, model SPH-1720
           Galaxy 54. 24 of these images depicted the minor victim. The
           photographs depicting the minor victim contained EXIF data confirming
           that the photographs were taken on September 9, 2013 using the
           aboveJisted Samsung Sprint cell phone, model SPH-L720 Galary 54.
           Some of the images of the minor victim depicted a lewd display of the
           minor victim's vagina and GLASCOCK's penis in contact with the
           minor victim's vagina. Another one of these images depicted
           GLASCOCK performing oral sex on the minor victim's vagina. 65 of
           these 121 images involved prepubescent children, including images of
           the children being vaginally penetrated. Also included among these
           images were the child pornography images involving Osman's one
           year old daughter.

       -   300 images of child pornography were also located on the above-listed
           Samsung Sprint cell phone, model SPH-1720 Galaxy 54, itself.

       In addition, the forensic examination of GLASCOCK's Samsung Sprint cell

 phone, model SPH-L720 Galaxy 54, revealed KiK messenger chats between

 GLASCOCK and Osman. In these chats, which started on September 18, 2013,

 at approximately 1 1:31 a.m., GLASCOCK sent Osman images of child

 pornography depicting the minor victim (the same images that were located on

 the SD card found inside the above-listed Samsung Sprint cell phone, model

 SPH-1720 Galaxy S4). ln response, Osman sent several images of child

 pornography to GLASCOCK in exchange for more images. In these chats, both

 GLASCOCK and Osman described sexually abusing their respective minor

 daughters. GLASCOCK also discussed in the chats that he was glad that the

 minor victim's speech was delayed because it prevented her from disclosing the




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 sexual abuse.r In other communications located on his electronic devices,

 GLASCOCK solicited other adults in an effort to get them to have sexual contact

 with the minor victim.

      GLASCOCK's email accounts reveal fufther distribution of the child
             pornographv images involving the minor victim

        During his interviews, GLASCOCK identified several of his email accounts

 to agents. GLASCOCK eventually provided the agents with permission to

 assume his online identity, and to use his email accounts to further investigations

 into individuals GLASCOCK was communicating with.

        Agents ultimately obtained search warrants for GLASCOCK's email

 accounts and received records containing the content of these email accounts

 from service providers, including Google, Inc. A review of GLASCOCK'S emails

 revealed that he had several conversations with other individuals regarding the

 sexual abuse of the minor victim. For instance, in some of these emails,

 GLASCOCK discussed sexually abusing the minor victim on a live feed through

 the Tango application. In addition, GLASCOCK's email content revealed his

 conversations with an individual eventually identified to be Jonathan Prive

 ("Prive").4 In emails, GLASCOCK and Prive discussed in detail an incident

 where the minor victim was sexually abused by Prive while GLASCOCK

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  When the minor victim was taken to the CPT on October 11,2013, a forensic interview could
 not be conducted because the minor victim had delayed speech.

 a
   On November 5, 2013, BCSO and HSI agents arrested Prive after conducting a UC
 investigation in which the UC agent posed as GLASCOCK. Prive confessed to placing his penis
 in the minor victim's mouth and on her vagina and to ejaculating on the minor victim's stomach
 while GLASCOCK observed the abuse. Prive is currently charged with federal offenses under
 Middle District of Florida Case No. 6:14-cr-33-Orl-28KRS.




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 observed, as described in footnote 4.

       ln other emails from September    7   , 2013 and September 9, 2013,

 GLASCOCK distributed approximately nine images of child pornography

 depicting the minor victim to Osman and Osman sent GLASCOCK child

 pornography images of Osman's one year old daughter.

        GLASCOCK admits to interstate and foreian commerce nexus

       During follow-up interviews at the BCSO Major Crimes Building,

 GLASCOCK admitted to agents that he used the above-listed Nikon camera and

 his old cell phone, with the cracked screen, to take "nude" photographs of the

 minor victim and that these photographs were stored on an SD card. After

 agents located the 24 child pornography images of the minor victim on the SD

 card found inside one of GLASCOCK's cell phones, these images were shown to

 GLASCOCK. GLASCOCK eventually admitted that he was depicted in the

 photographs with the minor victim. GLASCOCK further stated that a white

 substance on the minor victim in one of the photographs was likely his semen.

 GLASCOCK claimed that this was the only "photo session" he had with the minor

 victim, and that he sent child pornography images of the minor victim to Osman

 one month earlier. He further admitted that he sexually abused the minor victim

 in similar fashion on four occasions within the last three to four months.

        Based on the foregoing, GLASCOCK hereby acknowledges that he used

 materials that were transported in interstate or foreign commerce, including the

 above-listed Nikon camera and his cell phones, to produce the child pornography




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 images of the minor victim. GLASCOCK further acknowledges that the images

 of child pornography that he produced were actually transported in interstate or

 foreign commerce when GLASCOCK sent them, via email, to other individuals.

       Agents also specifically asked GLASCOCK about the email exchange

 between him and Prive. Based on this email exchange, it was apparent to

 agents that GLASCOCK allowed Prive to sexually abuse the minor victim at

 GLASCOCK's residence while GLASCOCK observed the abuse. When asked

 about these particular emails, GLASCOCK denied letting a male sexually abuse

 the minor victim and claimed that on the date in question his daughter was not

 with him.

      ldentified victims from GLASCOCK's child pornoqraphv collection

        The child pornography images in GLASCOCK's possession were sent to

 the National Center for Missing and Exploited Children (NCMEC) which issued a

 Child ldentification Report confirming that there were known and identified

 victims depicted in the images.




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